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 November 2, 2023

 Via Electronic Case Filing
 Hon. Arlene R. Lindsay
 United States Magistrate Judge
 Eastern District of New York
 814 Federal Plaza
 Central Islip, New York 11722

        Re:     Corrigan, et al v. Town Of Brookhaven et al
                E.D.N.Y. Civil Action No. 2:22-cv-4688 (GRB)(ARL)
                Joint status letter

 Dear Judge Lindsay,

         Pursuant to the Court’s October 25, 2023 order, the parties submit this joint status letter
 prepared by counsel for the plaintiffs regarding a proposed schedule to complete remaining discovery
 in the above-referenced matter.

         The defendants have provided the plaintiffs with their initial disclosures pursuant to Fed.
 R. Civ. P. 26, and served demands for documents, interrogatories, and request for admission on
 October 27, 2023, thus the parties propose to complete the remaining discovery in this matter as
 follows:

 1. On or before November 17, 2023, plaintiffs to provide Rule 26 initial disclosures.
 2. On or before December 29, 2023, plaintiffs to serve interrogatories and document demands.
 3. On or before January 31, 2024, parties to respond to interrogatories and document demands.
 4. On or before May 3, 2024, parties to complete all fact depositions.
 5. On or before May 13, 2024, identification of case in chief experts.
 6. On or before June 24, 2024, identification of rebuttal experts.

        With an end date for discovery to be determined by the Court.

                                                           Respectfully submitted,
                                                           /s/ Aaron C. DePass
                                                           Aaron C. DePass, Esq.

 Cc: All parties via ECF
